   Case: 1:21-cr-00117-SJD Doc #: 31 Filed: 10/27/21 Page: 1 of 1 PAGEID #: 116
                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

 UNITED STATES OF AMERICA,
                                                        CASE NO.       1:21-cr-117

                   Plaintiff,                           JUDGE      BLACK

                         v.
                                                        INFORMATION
 JUSTIN STOLL,
                                                         18 U.S.C. § 875(c)
                    Defendant.




THE UNITED STATES ATTORNEY CHARGES:


                                         COUNTl
                (Transmission in Interstate Commerce of a Threat to Injure)

       On or about January 7, 2021, in the Southern District of Ohio, the defendant, JUSTIN

STOLL, knowingly transmitted in interstate commerce a communication containing a threat to

injure the person of another, specifically, JUSTIN STOLL transmitted via the internet a video

containing the following threats against the Victim, whose identity is known to the United States

Attorney: "If you ever in your fucking existence did something to jeopardize taking me away

from my family, you will absolutely meet your maker. You can play that for the D.A. in court; I

don't care. If you ·ever jeopardize me from being with my family, you will absolutely meet your

motherfucking maker, and I will be the one to arrange the meeting."

       In violation of Title 18, United States Code, Section 875(c).


                                VIPALJ. PATEL
                                ACTING UNITED STATES ATTORNEY


                                 ~            [). c:;aA~·~
                                TIMOTHY S. MANGAN
                                JULIE D. GARCIA
                                ASSISTANT UNITED STATES ATTORNEYS
